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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION


LEONA MCCONATHY, ET AL                                       CASE NO. 3:17-cv-00622

VERSUS                                                       JUDGE ROBERT G. JAMES

WAL-MART LOUISIANA, LLC, ET AL                               MAGISTRATE JUDGE HAYES


                                     MOTION TO REMAND


          NOW INTO COURT, through undersigned counsel, come plaintiffs, Leona McConathy and

Eddie McConathy, who herein move this Honorable Court to remand the above entitled and

numbered cause of action to the 2nd Judicial District Court, Parish of Jackson, State of Louisiana, as

there is not full diversity among the parties as required for subject matter jurisdiction, because

defendant, Angela Moore, is a citizen of Louisiana and has been properly joined as a defendant based

on plaintiffs’ allegations in their Petition. For the reasons more fully stated in the Memorandum in

Support of this Motion attached herein, plaintiffs’ Motion to Remand should be granted, remanding

this matter to state court for further proceedings. Alternatively, if the Court does not grant the

pending motion based on plaintiffs’ allegations contained in the Petition, plaintiffs request time to

conduct discovery and submit additional briefs on the issue of whether Ms. Moore was properly

joined.

          WHEREFORE, plaintiffs, Leona McConathy and Eddie McConathy, further pray that this

matter be remanded to state court. Plaintiffs further pray for all general and equitable relief to which

they might be entitled.


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                                    Respectfully submitted,

                                    COLVIN, SMITH, & McKAY


                                    By: /S/James H. Colvin, Jr.__________
                                    James H. Colvin, Jr., T.A., Bar Roll No. 21532
                                    Cole B. Smith, Bar Roll No. 30063
                                    C. Taunton Melville, Bar Roll No. 33275
                                    Daniel N. Bays, Jr., Bar Roll No. 34439
                                    522 East Main Street
                                    Homer, LA 71040
                                    Telephone:    (318) 927-6149
                                    Facsimile:    (318) 927-9649

                                    &

                                    LAW OFFICE OF JEFFREY L. ROBINSON
                                    JEFFREY L. ROBINSON, Bar Roll #23916
                                    215 6th Street, Suite B
                                    Jonesboro, Louisiana 71251
                                    Tel: (318) 259-9024
                                    Fax: (318) 259-8603

                                    Attorneys for Plaintiffs, Leona and Eddie McConathy




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of June, 2017, a copy of the foregoing Motion to Remand

was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will

be sent to all counsel of record by operation of the Court’s electronic filing system.

       Thus done and signed this 9th day of June, 2017.


                                                         /S/James H. Colvin, Jr.__________
                                                               Of Counsel




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